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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

WOMBLE BOND DICKINSON (US) LLP
Ericka F. Johnson (NJ #032162007)
1313 N. Market Street, Suite 1200
Wilmington, Delaware 19801
Telephone: (302) 252-4337
Email: ericka.johnson@wbd-us.com

Counsel for Ad Hoc Committee of States



                                                                   Case No.: 21-30589 (MBK)
In re:
                                                                   Chapter: 11
LTL MANAGEMENT, LLC,
                                                                   Requested Hearing: April 12, 2022,
                                    1
                          Debtor.                                  10:00 a.m.

                                                                   Hon. Michael B. Kaplan

     NOTICE OF MOTION OF THE AD HOC COMMITTEE OF STATES HOLDING
    CONSUMER PROTECTION CLAIMS SEEKING RELIEF WITH RESPECT TO THE
               ORDER ESTABLISHING MEDIATION PROTOCOL

         PLEASE TAKE NOTICE that, on April 12, 2022 at 10:00 a.m., or as soon thereafter as

counsel may be heard, the Ad Hoc Committee of States Holding Consumer Protection Claims

(the “Ad Hoc Committee of States”), by and through its undersigned counsel, shall move before

the Honorable Michael B. Kaplan, United States Bankruptcy Judge, at the United States

Bankruptcy Court, Clarkson S. Fisher U.S. Courthouse, 402 East State Street, Trenton, New

Jersey, for the entry of an order modifying the Order Establishing Mediation Protocol (Dkt.

1780) (“Mediation Order”).




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        The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501
George Street, New Brunswick, New Jersey 08933.

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       PLEASE TAKE FURTHER NOTICE that, in support of this motion, the Ad Hoc

Committee of States will rely upon the motion submitted herewith. A separate memorandum of

law is unnecessary because the legal basis for the relief sought is set forth in the motion

submitted herewith and the motion does not raise any novel issues of law. A proposed form of

order is submitted herewith.

       PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-2, responsive

papers, if any, must be filed with the Clerk of the Bankruptcy Court, Clarkson S. Fisher

Courthouse, 402 East State Street, Trenton, New Jersey 08608, and served upon (a) the Ad Hoc

Committee of States’ undersigned counsel, (b) the Mediation Parties, (c) the Co-Mediators, (d)

the Office of the United States Trustee for the District of New Jersey, and (f) any other party

entitled to notice no later than April 7, 2022.

       PLEASE TAKE FURTHER NOTICE that, unless an objection is timely filed and served,

the Motion will be deemed uncontested in accordance with D.N.J. LBR 9013-3(d) and the relief

may be granted without a hearing.


Dated: April 1, 2022.                                 By: /s/ Ericka F. Johnson
                                                      Ericka F. Johnson (NJ #032162007)
                                                      Womble Bond Dickinson (US) LLP
                                                      1313 N. Market Street, Suite 1200
                                                      Wilmington, Delaware 19801
                                                      Telephone: (302) 252-4337
                                                      Email: ericka.johnson@wbd-us.com

                                                      Counsel for the Ad Hoc Committee of States




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